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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.
                                                          No. 21-cr-32 (DLF)
 GUY WESLEY REFFITT,

                Defendant.




                                FINAL JURY INSTRUCTIONS

       Ladies and gentlemen, you have now heard all of the evidence in the case. Before you

begin your deliberations, I am going to instruct you on the law. I will start with some general

rules of law and then talk about the specific charges alleged here and some of the specific issues

in this case. Some of these rules will repeat what I told you in my preliminary instructions.




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           Instruction No. 1: Furnishing the Jury with a Copy of the Instructions

       I will provide you with a copy of my instructions. During your deliberations, you may, if

you want, refer to these instructions. While you may refer to any particular portion of the

instructions, you are to consider the instructions as a whole and you may not follow some and

ignore others. If you have any questions about the instructions, you should feel free to send me a

note. Please return your instructions to me when your verdict is rendered.




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                            Instruction No. 2: Function of the Court

        As I explained at the beginning of the trial, my function is to conduct this trial in an

orderly, fair, and efficient manner; to rule on questions of law; and to instruct you on the law that

applies in this case.

        It is your duty to accept the law as I instruct you. Again, you should consider all of the

instructions as a whole. You may not ignore or refuse to follow any of them.




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                             Instruction No. 3: Function of the Jury

       Your function, as the jury, is to determine what the facts are in this case. You are the sole

judges of the facts. While it was my responsibility to decide what was admitted as evidence

during the trial, you alone decide what weight, if any, to give to that evidence. You alone decide

the credibility or believability of the witnesses.

       You should determine the facts without prejudice, fear, sympathy, or favoritism. You

should not be improperly influenced by anyone's race, ethnic origin, or gender. Decide the case

solely based on a fair consideration of the evidence.

       You may not take anything I may have said or done as indicating how I think you should

decide this case. If you believe that I have expressed or indicated any such opinion, you should

ignore it. The verdict in this case is your sole and exclusive responsibility.




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                       Instruction No. 4: Jury’s Recollection Controls

       If any reference by me or the attorneys to the evidence is different from your own

memory of the evidence, it is your memory that should control during your deliberations.




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                            Instruction No. 5: Notetaking by Jurors

       During the trial, I have permitted those jurors who wanted to do so to take notes. You

may take your notebooks with you into the jury room and use them during your deliberations if

you wish. As I told you at the beginning of the trial, your notes are only to be an aid to your

memory. They are not evidence in the case, and they should not replace your own memory of the

evidence. Those jurors who have not taken notes should rely on their own memory of the

evidence. The notes are intended to be for the notetaker’s own personal use.




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                            Instruction No. 6: Evidence in the Case

       During your deliberations, you may consider only the evidence properly admitted in this

trial. The evidence in this case consists of the sworn testimony of the witnesses, the exhibits that

were admitted into evidence, and the facts stipulated to by the parties.

       During the trial, you were told that the parties had stipulated--that is, agreed--to certain

facts. You should consider any stipulation of fact to be undisputed evidence.

       When you consider the evidence, you are permitted to draw, from the facts that you find

have been proven, such reasonable inferences as you feel are justified in the light of your

experience. You should give any evidence such weight as in your judgment it is fairly entitled to

receive.




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                           Instruction No. 7: Statements of Counsel

       The statements and arguments of the lawyers are not evidence. They are only intended to

assist you in understanding the evidence. Similarly, the questions of the lawyers are not

evidence.




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                          Instruction No. 8: Indictment Not Evidence

       The indictment is merely the formal way of accusing a person of a crime. You must not

consider the indictment as evidence of any kind—you may not consider it as any evidence of the

defendant’s guilt or draw any inference of guilt from it.




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                               Instruction No. 9: Burden of Proof

       Every defendant in a criminal case is presumed to be innocent. This presumption of

innocence remains with the defendant throughout the trial unless and until the government has

proven he is guilty beyond a reasonable doubt. This burden never shifts throughout the trial. The

law does not require the defendant to prove his innocence or to produce any evidence at all. If

you find that the government has proven beyond a reasonable doubt every element of the

offenses with which the defendant is charged, it is your duty to find him guilty those offenses.

On the other hand, if you find that the government has failed to prove any element of a particular

offense beyond a reasonable doubt, it is your duty to find the defendant not guilty of that offense.




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                              Instruction No. 10: Reasonable Doubt

       As I’ve explained, the government has the burden of proving the defendant guilty beyond

a reasonable doubt. In civil cases, it is only necessary to prove that a fact is more likely true than

not, or, in some cases, that its truth is highly probable. But in criminal cases such as this one, the

government’s proof must be more powerful than that. It must be beyond a reasonable doubt.

Reasonable doubt, as the name implies, is a doubt based on reason--a doubt for which you have a

reason based upon the evidence or lack of evidence in the case. If, after careful, honest, and

impartial consideration of all the evidence, you cannot say that you are firmly convinced of the

defendant's guilt, then you have a reasonable doubt.

       Reasonable doubt is the kind of doubt that would cause a reasonable person, after careful

and thoughtful reflection, to hesitate to act in the graver or more important matters in life.

However, it is not an imaginary doubt, nor a doubt based on speculation or guesswork; it is a

doubt based on reason. The government is not required to prove guilt beyond all doubt, or to a

mathematical or scientific certainty. Its burden is to prove guilt beyond a reasonable doubt.




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                   Instruction No. 11: Direct and Circumstantial Evidence

       There are two types of evidence from which you may determine what the facts are in this

case--direct evidence and circumstantial evidence. When a witness, such as an eyewitness,

asserts actual knowledge of a fact, that witness’s testimony is direct evidence. On the other hand,

evidence of facts and circumstances from which reasonable inferences may be drawn is

circumstantial evidence.

       Let me give you an example. Assume a person looked out a window and saw that snow

was falling. If he later testified in court about what he had seen, his testimony would be direct

evidence that snow was falling at the time he saw it happen. Assume, however, that he looked

out a window and saw no snow on the ground, and then went to sleep and saw snow on the

ground after he woke up. His testimony about what he had seen would be circumstantial

evidence that it had snowed while he was asleep.

       The law says that both direct and circumstantial evidence are acceptable as a means of

proving a fact. The law does not favor one form of evidence over another. It is for you to decide

how much weight to give to any particular evidence, whether it is direct or circumstantial. You

are permitted to give equal weight to both. Circumstantial evidence does not require a greater

degree of certainty than direct evidence. In reaching a verdict in this case, you should consider

all of the evidence presented, both direct and circumstantial.




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                 Instruction No. 12: Nature of Charges Not to be Considered

       You must not allow the nature of a charge to affect your verdict. You must consider only

the evidence that has been presented in this case in reaching a fair and impartial verdict.




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                           Instruction No. 13: Number of Witnesses

       The weight of the evidence is not necessarily determined by the number of witnesses

testifying for each side. Rather, you should consider all the facts and circumstances in evidence

to determine which of the witnesses you believe. You might find that the testimony of a smaller

number of witnesses on one side is more believable than the testimony of a greater number of

witnesses on the other side or you might find the opposite.




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                   Instruction No. 14: Inadmissible and Stricken Evidence

       The lawyers in this case sometimes objected when the other side asked a question, made

an argument, or offered evidence that the objecting lawyer believed was not proper. You must

not hold such objections against the lawyer who made them or the party he or she represents. It is

the lawyer’s responsibility to object to evidence that he or she believes is not admissible.

       If, during the course of the trial, I sustained an objection to a lawyer’s question, you

should ignore the question, and you must not speculate as to what the answer would have been.




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                           Instruction No. 15: Credibility of Witnesses

         In determining whether the government has proved the charges against the defendant

beyond a reasonable doubt, you must consider the testimony of all the witnesses who have

testified.

         As I’ve said already, you are the sole judges of the credibility of the witnesses. You alone

determine whether to believe any witness and the extent to which a witness should be believed.

Judging a witness’s credibility means evaluating whether the witness has testified truthfully and

also whether the witness accurately observed, recalled, and described the matters about which

the witness testified.

         You may consider anything that in your judgment affects the credibility of any witness.

For example, you may consider the demeanor and the behavior of the witness on the witness

stand; the witness’s manner of testifying; whether the witness impresses you as a truthful person;

whether the witness impresses you as having an accurate memory and recollection; whether the

witness has any motive for not telling the truth; whether the witness had a full opportunity to

observe the matters about which he or she has testified; whether the witness has any interest in

the outcome of this case, or friendship or hostility toward other people concerned with this case.

         In evaluating the accuracy of a witness’s memory, you may consider the circumstances

surrounding the event, including any circumstances that would impair or improve the witness’s

ability to remember the event, the time that elapsed between the event and any later recollections

of the event, and the circumstances under which the witness was asked to recall details of the

event.

         You may consider whether there are any inconsistencies or discrepancies between what

the witness says now and what the witness may have previously said. You may also consider any


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inconsistencies between the witness’s testimony and any other evidence that you credit such as

the testimony of another witness. You should consider whether any inconsistencies are the result

of different individuals seeing, hearing, or recollecting things differently, are the result of actual

forgetfulness, are the result of innocent mistakes, or are the result of intentional falsehood.

        You may consider the reasonableness or unreasonableness, the probability or

improbability, of the testimony of a witness in determining whether to accept it as true and

accurate. You may consider whether the witness has been contradicted or supported by other

evidence that you credit.

        If you believe that any witness has shown him or herself to be biased or prejudiced, for or

against either side in this trial, you may consider and determine whether such bias or prejudice

has colored the testimony of the witness so as to affect the desire and capability of that witness to

tell the truth.

        You should give the testimony of each witness such weight as in your judgment it is

fairly entitled to receive.




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                   Instruction No. 16: Testimony of Immunized Witnesses

       You have heard evidence that Rocky Hardie has received immunity. This means that his

testimony may not be used against him in any criminal case. You should consider whether a

witness who realizes that he may avoid prosecution by incriminating another may have a motive

to lie. However, you may also consider that the witness is under the same obligation to tell the

truth as is any other witness, because the grant of immunity does not protect him against a

prosecution for perjury or false statement, should he lie under oath.

       The testimony of a witness to whom immunity has been granted should be considered

with caution. You should give the testimony as much weight as in your judgment it deserves.




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                        Instruction No. 17: Police Officer’s Testimony

       In this case, you have heard testimony from a number of law enforcement officers. A

police officer’s testimony should be evaluated by you just as any other evidence in the case. In

evaluating the officer’s credibility, you should use the same guidelines that you apply to the

testimony of any witness. In no event should you give either greater or lesser weight to the

testimony of any witness merely because he or she is a police officer.




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                     Instruction No. 18: Right of Defendant Not to Testify

       Every defendant in a criminal case has an absolute right not to testify. The defendant has

chosen to exercise this right. You must not hold this decision against him, and it would be

improper for you to speculate as to the reason or reasons for his decision. You must not assume

the defendant is guilty because he chose not to testify.




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                       Instruction No. 19: Transcripts of Tape Recordings

       Recordings of conversations identified by witnesses have been received in evidence.

Transcripts of these recorded conversations have been furnished for your convenience and

guidance as you listen to the tapes to clarify portions of the tape which are difficult to hear and to

help you identify speakers. The recordings, however, are the evidence in the case; the transcripts

are not. If you noticed any difference between the transcripts and the recordings, you must rely

only on the recordings and not the transcripts. In addition, if you cannot determine from the

recording that particular words were spoken, you must disregard the transcripts as far as those

words are concerned.




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                           Instruction No. 20: Proof of State of Mind

       Someone’s intent or knowledge ordinarily cannot be proved directly, because there is no

way of knowing what a person is actually thinking, but you may infer someone’s intent or

knowledge from the surrounding circumstances. You may consider any statement made or acts

done or omitted by the defendant, and all other facts and circumstances received in evidence

which indicate his intent or knowledge.

       You may infer, but are not required to infer, that a person intends the natural and

probable consequences of acts he intentionally did or intentionally did not do. It is entirely up to

you, however, to decide what facts to find from the evidence received during this trial. You

should consider all the circumstances in evidence that you think are relevant in determining

whether the government has proved beyond a reasonable doubt that the defendant acted with the

necessary state of mind.




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                    Instruction No. 21: Multiple Counts – One Defendant

       Each count of the indictment charges a separate offense. You should consider each

offense, and the evidence which applies to it, separately, and you should return separate verdicts

as to each count unless I instruct you to do otherwise. The fact that you may find the defendant

guilty or not guilty on any one count of the indictment should not influence your verdict with

respect to any other count of the indictment.

       At any time during your deliberations you may return your verdict of guilty or not guilty

with respect to any count.




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                          ELEMENTS OF THE CHARGED OFFENSES

  Instruction No. 22: Count 1, Transporting a Firearm in Furtherance of a Civil Disorder

                                              Elements

       Count 1 of the indictment charges the defendant with transporting a firearm in commerce

while knowing, having reason to know, or intending that it would be used unlawfully to further a

civil disorder, which is a violation of federal law.

       In order to the find the defendant guilty of this offense, you must find that the government

proved each of the following two elements beyond a reasonable doubt:

       First, that the defendant transported a firearm in commerce;

       Second, that the defendant did so knowing, having reason to know, or intending that the

firearm would be used unlawfully in furtherance of a civil disorder.

                                             Definitions

       The term “civil disorder” means any public disturbance involving acts of violence by

groups of three or more persons, which (a) causes an immediate danger of injury to another

individual, (b) causes an immediate danger of damage to another individual’s property, (c)

results in injury to another individual, or (d) results in damage to another individual’s property.

       The term “commerce” means commerce or travel between one state, including the

District of Columbia, and any other state, including the District of Columbia. It also means

commerce wholly within the District of Columbia.

       A “firearm” includes any weapon which is designed to or may readily be converted to

expel any projectile by the action of an explosive; or the frame or receiver of any such weapon.

A frame or receiver is a part of the firearm. A holster is neither a frame nor receiver.




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    Instruction No. 23: Count 2, Obstruction of an Official Proceeding and Aiding and

                                              Abetting

         Count 2 of the indictment charges the defendant with corruptly obstructing an official

proceeding, which is a violation of the law. Count 2 also charges the defendant with attempt to

obstruct or impede an official proceeding and aiding and abetting others to commit that offense.

The Court will first explain the elements of the substantive offense, along with its associated

definitions. Then, the Court will explain how to determine whether the defendant attempted the

offense and whether the defendant aided and abetted the offense.

                                              Elements

         In order to find the defendant guilty of corruptly obstructing an official proceeding, you

must find that the government proved each of the following four elements beyond a reasonable

doubt:

         First, the defendant attempted to or did obstruct or impede an official proceeding.

         Second, the defendant acted with the intent to obstruct or impede the official proceeding.

         Third, the defendant acted knowingly, with awareness that the natural and probable effect

of his conduct would be to obstruct or impede the official proceeding.

         Fourth, the defendant acted corruptly.

                                             Definitions

         The term “official proceeding” includes a proceeding before the Congress. The official

proceeding need not be pending or about to be instituted at the time of the offense. If the official

proceeding was not pending or about to be instituted, the government must prove beyond a

reasonable doubt that the official proceeding was reasonably foreseeable to the defendant. As




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used in Count 2, the term “official proceeding” means Congress’s Joint Session to certify the

Electoral College vote.

        A person acts “knowingly” if he realizes what he is doing and is aware of the nature of

his conduct, and does not act through ignorance, mistake, or accident. In deciding whether the

defendant acted knowingly, you may consider all of the evidence, including what the defendant

did or said.

        To act “corruptly,” the defendant must use unlawful means or act with an unlawful

purpose, or both. The defendant must also act with “consciousness of

wrongdoing.” “Consciousness of wrongdoing” means with an understanding or awareness that

what the person is doing is wrong.

        Not all attempts to obstruct or impede an official proceeding involve acting

corruptly. For example, a witness in a court proceeding may refuse to testify by invoking his

constitutional privilege against self-incrimination, thereby obstructing or impeding the

proceeding, but he does not act corruptly. In contrast, an individual who obstructs or impedes a

court proceeding by bribing a witness to refuse to testify in that proceeding, or by engaging in

other independently unlawful conduct, does act corruptly.

                                              Attempt

        In Count 2, the defendant is also charged with attempt to commit the crime of obstruction

of an official proceeding. An attempt to commit obstruction of an official proceeding is a crime

even if the defendant did not actually complete the crime of obstruction of an official proceeding.

        In order to find the defendant guilty of attempt to commit obstruction of an official

proceeding, you must find that the government proved beyond a reasonable doubt each of the

following two elements:


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       First, that the defendant intended to commit the crime of obstruction of an official

proceeding, as I have defined that offense above.

       Second, that the defendant took a substantial step toward committing obstruction of an

official proceeding which strongly corroborates or confirms that the defendant intended to

commit that crime.

       With respect to the first element of attempt, you may not find the defendant guilty of

attempt to commit obstruction of an official proceeding merely because he thought about it. You

must find that the evidence proved beyond a reasonable doubt that the defendant’s mental state

passed beyond the stage of thinking about the crime to actually intending to commit it.

       With respect to the substantial step element, you may not find the defendant guilty of

attempt to commit obstruction of an official proceeding merely because he made some plans to

or some preparation for committing that crime. Instead, you must find that the defendant took

some firm, clear, undeniable action to accomplish his intent to commit obstruction of an official

proceeding. However, the substantial step element does not require the government to prove that

the defendant did everything except the last act necessary to complete the crime.

                                       Aiding and Abetting

       In this case, the government further alleges that the defendant aided and abetted others in

committing obstruction of an official proceeding as charged in Count 2. A person may be guilty

of an offense if he aided and abetted another person in committing the offense. A person who

has aided and abetted another person in committing an offense is often called an accomplice.

The person whom the accomplice aids and abets is known as the principal. It is not necessary

that all the people who committed the crime be caught or identified. It is sufficient if you find




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beyond a reasonable doubt that the crime was committed by someone and that the defendant

knowingly and intentionally aided and abetted that person in committing the crime.

        In order to find the defendant guilty of obstruction of an official proceeding because he

aided and abetted others in committing this offense, you must find the that the government

proved beyond a reasonable doubt the following five requirements:

        First, that others committed obstruction of an official proceeding by committing each of

the elements of the offense charged, as I have explained above.

        Second, that the defendant knew that obstruction of an official proceeding was going to

be committed or was being committed by others.

        Third, that the defendant performed an act or acts in furtherance of the offense.

        Fourth, that the defendant knowingly performed that act or acts for the purpose of aiding,

assisting, soliciting, facilitating, or encouraging others in committing the offense of obstruction

of an official proceeding.

        Fifth, that the defendant did that act or acts with the intent that others commit the offense

of obstruction of an official proceeding.

        To show that the defendant performed an act or acts in furtherance of the offense

charged, the government needs to show some affirmative participation by the defendant which at

least encouraged others to commit the offense. That is, you must find that the defendant’s act or

acts did, in some way, aid, assist, facilitate, or encourage others to commit the offense. The

defendant’s act or acts need not further aid, assist, facilitate, or encourage every part or phase of

the offense charged; it is enough if the defendant’s act or acts further aid, assist, facilitate, or

encourage only one or some parts or phases of the offense. Also, the defendant’s acts need not

themselves be against the law.


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       In deciding whether the defendant had the required knowledge and intent to satisfy the

fourth requirement for aiding and abetting, you may consider both direct and circumstantial

evidence, including the defendant’s words and actions and other facts and circumstances.

However, evidence that the defendant merely associated with persons involved in a criminal

venture or was merely present or was merely a knowing spectator during the commission of the

offense is not enough for you to find the defendant guilty as an aider and abetter. If the evidence

shows that the defendant knew that the offense was being committed or was about to be

committed, but does not also prove beyond a reasonable doubt that it was the defendant’s intent

and purpose to aid, assist, encourage, facilitate, or otherwise associate himself with the offense,

you may not find the defendant guilty of the obstruction of an official proceeding as an aider and

abettor. The government must prove beyond a reasonable doubt that the defendant in some way

participated in the offense committed by others as something the defendant wished to bring about

and to make succeed.




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Instruction No. 24: Count 3, Entering or Remaining in a Restricted Area or Grounds with

                                            a Firearm

                                             Elements

       Count 3 of the indictment charges the defendant with entering or remaining in a restricted

building or grounds while using or carrying a firearm, which is a violation of federal law.

       In order to find the defendant guilty of this offense, you must find that the government

proved each of the following three elements beyond a reasonable doubt:

       First, that the defendant entered or remained in a restricted building or grounds without

lawful authority to do so.

       Second, that the defendant knew that the building or grounds was restricted and he knew

that he lacked the lawful authority to enter or remain there.

       Third, that the defendant knowingly used or carried a firearm during and in relation to the

offense.

       On the verdict form, if you find the defendant not guilty of Count 3, then proceed to

Count 3(a). If you find the defendant guilty of Count 3, then do not consider Count 3(a) and

proceed to Count 4.

                                            Definitions

       The term “restricted building or grounds” means any posted, cordoned off, or otherwise

restricted area of a building or grounds where a person protected by the Secret Service is

temporarily visiting.

       The term “person protected by the Secret Service” includes the Vice President and the

immediate family of the Vice President.

       The terms “knowingly” and “firearm” have the same meaning I gave you previously.


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Instruction No. 24(a): Count 3(a), Entering or Remaining in a Restricted Area or Grounds

                                             Elements

       Count 3(a) is a lesser included offense of Count Three of the indictment which charges

the defendant with entering or remaining in a restricted building or grounds.

       In order to find the defendant guilty of this offense, you must find that the government

proved each of the following two elements beyond a reasonable doubt:

       First, that the defendant entered or remained in a restricted building or grounds without

lawful authority to do so.

       Second, that the defendant knew that the building or grounds was restricted and he knew

that he lacked the lawful authority to enter or remain there.

                                            Definitions

       The terms “restricted building or grounds,” “person protected by the Secret Service,” and

“knowingly” have the same meanings I gave you previously.




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          Instruction No. 25: Count 4, Obstructing Officers During a Civil Disorder

        Count 4 charges the defendant with committing or attempting to commit an act to

obstruct, impede, or interfere with law enforcement officers lawfully carrying out their official

duties incident to a civil disorder, which is a violation of federal law. The Court will first explain

the elements of the substantive offense, along with its associated definitions. Then, the Court

will explain how to determine whether the defendant attempted the offense.

                                              Elements

        In order to find the defendant guilty of obstructing officers during a civil disorder, you

must find the following four elements beyond a reasonable doubt:

        First, the defendant knowingly committed an act or attempted to commit an act.

        Second, in committing or attempting to commit that act, the defendant intended to

obstruct, impede, or interfere with one or more law enforcement officers.

        Third, at the time of the defendant’s actual or attempted act, the law enforcement officer

or officers were engaged in the lawful performance of their official duties incident to and during

a civil disorder.

        Fourth, the civil disorder in any way or degree obstructed, delayed, or adversely affected

either commerce or the movement of any article or commodity in commerce or the conduct or

performance of any federally protected function.

                                             Definitions

        The terms “knowingly,” “civil disorder” and, “commerce” have the same meaning I gave

you previously.




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        The term “federally protected function” means any function, operation, or action carried

out, under the laws of the United States, by any department, agency, or instrumentality of the

United States or by an officer or employee thereof.

        The term “department” includes executive departments. The Department of Homeland

Security, which includes the United States Secret Service, is an executive department.

        The term “agency” includes any department, independent establishment, commission,

administration, authority, board, or bureau of the United States.

                                              Attempt

        In Count 4, the defendant is also charged with attempt to commit the crime of obstructing

officers during a civil disorder. An attempt to obstruct officers during a civil disorder is a federal

crime even if the defendant did not actually complete the crime of obstructing officers during a

civil disorder.

        In order to find the defendant guilty of attempt to commit the crime of obstructing

officers during a civil disorder, you must find that the government proved beyond a reasonable

doubt each of the following two elements:

        First, that the defendant intended to commit the crime of obstructing officers during a

civil disorder, as I have defined that offense above.

        Second, that the defendant took a substantial step toward committing the crime of

obstructing officers during a civil disorder, which strongly corroborates or confirms that the

defendant intended to commit that crime.

        The principles governing attempt that I explained above apply here as well.




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Instruction No. 26: Count 5, Obstruction of Justice—Hindering Communication Through

                               Force or Threat of Physical Force

       Count 5 of the indictment charges the defendant with using physical force or threatening

to use physical force against Jackson Reffitt and Peyton Reffitt to hinder, delay, or prevent their

communication to law enforcement officer or a federal judge, which is a violation of the law.

Count 5 also charges the defendant with attempt to commit the crime of obstruction of justice

through physical force or threat of physical force. Again, the Court will first explain the

elements of the substantive offense, along with its associated definitions. Then, the Court will

explain how to determine whether the defendant attempted the offense.

                                             Elements

       In order to the find the defendant guilty of this offense, you must find that the

government proved each of the following four elements beyond a reasonable doubt:

       First, that the defendant knowingly used or attempted to use physical force or the threat

of physical force against Jackson Reffitt or Peyton Reffitt.

       Second, that the defendant acted with intent to hinder, delay, or prevent Jackson Reffitt or

Peyton Reffitt from communicating to law enforcement information relating to the commission

or possible commission of an offense.

       Third, that there was a reasonable likelihood that at least one of the communications

targeted by the defendant would have been made to a federal officer.

       Fourth, the information that would have been communicated to a federal officer related to

the possible commission of a federal offense.




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           The government need not prove that the defendant knew that the information related to a

federal offense or knew that the communications were reasonably likely to reach a federal

officer.

                                               Definition

           The term “knowingly” has the same meaning I gave you previously.

                                                Attempt

           In Count 5, the defendant is also charged with attempt to commit the crime of obstruction

of justice through physical force or threat of physical force. An attempt to commit obstruction of

justice through physical force or threat of physical force is a federal crime even if the defendant

did not actually complete the crime of obstruction of justice through physical force or threat of

physical force.

           In order to find the defendant guilty of attempt to commit obstruction of justice through

physical force or threat of physical force, you must find that the government proved beyond a

reasonable doubt each of the following two elements:

           First, that the defendant intended to commit the crime of obstruction of justice through

physical force or threat of physical force, as I have defined that offense above.

           Second, that the defendant took a substantial step toward committing obstruction of

justice through physical force or threat of physical force which strongly corroborates or confirms

that the defendant intended to commit that crime.

           The principles governing attempt that I explained above apply here as well.



           We will now hear closing arguments.




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                               CONCLUDING INSTRUCTIONS

                           Instruction No. 27: Unanimity – General

       A verdict must represent the considered judgment of each juror, and in order to return a

verdict, each juror must agree on the verdict. In other words, your verdict must be unanimous.




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                        Instruction No. 28: Verdict Form Explanation

       You will be provided with a Verdict Form for use when you have concluded your

deliberations. The form is not evidence in this case, and nothing on it should be taken to suggest

or convey any opinion by me as to what the verdict should be. Nothing on the form replaces the

instructions of law I have already given you, and nothing on it replaces or modifies the

instructions about the elements which the government must prove beyond a reasonable doubt.

The form is meant only to assist you in recording your verdict.




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                     Instruction No. 29: Redacted Documents and Tapes

       During the course of this trial, a number of exhibits were admitted in evidence.

Sometimes only those parts of an exhibit that are relevant to your deliberations were admitted.

Where this has occurred, I have required the irrelevant parts of the statement to be blacked out or

deleted. Thus, as you examine the exhibits, and you see or hear a statement where there appear to

be omissions, you should consider only the portions that were admitted. You should not guess as

to what has been taken out.




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                      Instruction No. 30: Exhibits During Deliberations

       I will be sending into the jury room with you the exhibits that have been admitted into

evidence except for the firearms, ammunition, or bear spay. You may examine any or all of them

as you consider your verdicts. Please keep in mind that exhibits that were only marked for

identification but were not admitted into evidence will not be given to you to examine or

consider in reaching your verdict.

       If you wish to examine the firearms, ammunition, or bear spray, please notify the clerk by

a written note, and the marshal will bring them to you. For security purposes, the marshal will

remain in the jury room while each of you has the opportunity to examine this evidence. You

should not discuss the evidence or otherwise discuss the case among yourselves while the

marshal is present in the jury room. You may ask to examine this evidence as often as you find it

necessary.




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                          Instruction No. 31: Selection of Foreperson

       When you return to the jury room, you should first select a foreperson to preside over

your deliberations and to be your spokesperson here in court. There are no specific rules

regarding how you should select a foreperson. That is up to you. However, as you go about the

task, be mindful of your mission--to reach a fair and just verdict based on the evidence. Consider

selecting a foreperson who will be able to facilitate your discussions, who can help you organize

the evidence, who will encourage civility and mutual respect among all of you, who will invite

each juror to speak up regarding his or her views about the evidence, and who will promote a full

and fair consideration of that evidence.




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  Instruction No. 32: Cautionary Instruction on Publicity, Communication, and Research

       As I have mentioned throughout the trial, there may be reports in the newspapers or on

the radio, internet, or television about this case. You may be tempted to read, listen to, or watch

this media coverage. But, as I’ve explained, already, you must not read, listen to, or watch such

reports because you must decide this case solely on the evidence presented in this courtroom. If

you receive automatic alerts from any source, you may need to change your push notifications,

news subscriptions or RSS or Twitter feeds. If any publicity about this trial inadvertently comes

to your attention, do not discuss it with other jurors or anyone else. Just let me or my clerk know

as soon after it happens as you can, and I will then briefly discuss it with you.

       As you retire to the jury room to deliberate, I also wish to remind you of another

instruction that I’ve given you on multiple occasions throughout this trial. I’ve previously told

you not to communicate with anyone about this case. Now, during your deliberations, you may

not communicate with anyone who is not on the jury about this case. This includes any electronic

communication such as email or text or any blogging about the case. In addition, you may not

conduct any independent investigation during deliberations. This means you may not conduct

any research in person or electronically via the internet or in another way.




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Instruction No. 33: Communications Between Court and Jury During Jury’s Deliberations

       If it becomes necessary during your deliberations to communicate with me, you may send

a note by the clerk or marshal, signed by your foreperson or by one or more members of the jury.

No member of the jury should try to communicate with me except by such a signed note, and I

will never communicate with any member of the jury on any matter concerning the merits of this

case, except in writing or orally here in open court.

       Bear in mind also that you are never, under any circumstances, to reveal to any person--

not the clerk, the marshal or me--how jurors are voting until after you have reached a unanimous

verdict. This means that you should never tell me, in writing or in open court, how the jury is

divided on any matter--for example, 6-6 or 7-5 or 11-1, or in any other fashion--whether the vote

is for conviction or acquittal or on any other issue in the case.




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                          Instruction No. 34: Jurors’ Duty to Deliberate

       It is your duty as jurors to consult with one another and to deliberate expecting to reach

an agreement. You must decide the case for yourself but you should do so only after thoroughly

discussing it with your fellow jurors. You should not hesitate to change an opinion when

convinced that it is wrong. You should not be influenced to vote in any way on any question just

because another juror favors a particular decision or holds an opinion different from your own.

You should reach an agreement only if you can do so in good conscience. In other words, you

should not surrender your honest beliefs about the effect or weight of evidence merely to return a

verdict or solely because of other jurors’ opinions.




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              Instruction No. 35: Attitude and Conduct of Jurors in Deliberations

         The attitude and conduct of jurors at the beginning of their deliberations are matters of

considerable importance. It may not be useful for a juror, upon entering the jury room, to voice a

strong expression of an opinion on the case or to announce a determination to stand for a certain

verdict. When one does that at the outset, a sense of pride may cause that juror to hesitate to back

away from an announced position after a discussion of the case. Furthermore, many juries find it

useful to avoid an initial vote upon retiring to the jury room. Calmly reviewing and discussing

the case at the beginning of deliberations is often a more useful way to proceed.

         Remember that you are not partisans or advocates in this matter, but you are judges of the

facts.




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                           Instruction No. 36: Delivering the Verdict

       When you have reached your verdict, just send me a note informing me of this fact, and

have your foreperson sign the note. Do not tell me what your verdict is. The foreperson should

fill out and sign the verdict form that will be provided. I will then call you into the courtroom and

ask your foreperson to read your verdict in open court.




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                         Instruction No. 37: Excusing Alternate Jurors

        The last thing I must do before you begin your deliberations is to excuse the alternate

jurors. As I told you before, the selection of alternates was an entirely random process; it's

nothing personal. We selected four seats to be the alternate seats before any of you entered the

courtroom. Since the rest of you have remained healthy and attentive, I can now excuse those

jurors in seats                   These are jurors #

        Before you four leave, I am going to ask you to tear out a page from your notebook, and

to write down your name and daytime phone number and hand this to the clerk. I do this because

it is possible, though unlikely, that we will need to summon you back to rejoin the jury if

something happens to a regular juror. Since that possibility exists, I am also going to instruct you

not to discuss the case with anyone until we call you. My earlier instruction on use of the Internet

still applies; do not research this case or communicate about it on the Internet. In all likelihood,

we will be calling you to tell you there has been a verdict and you are now free to discuss the

case; there is, however, the small chance that we will need to bring you back on to the jury.

Thank you very much for your service. We are extremely grateful for your time and attention in

this case. Please report back to the jury office to turn in your badge on your way out.




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